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Case 2:04-cr-20330-SH|\/| Document 104 Filed 08/22/05 Page 10f2 Page|D~lSl

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IN THE UNITED sTATEs DISTRICT coURT ____ o
FoR Tm:: wEsTERN DISTRICT oF TENNESSEE OSAUG 'c’
wEsTERN D:vIsJ:oN 22

 

UNITED STATES OF' AMERICA,

)
)
Plaintiff, )
)

vs. ) CR. NO. 04-20330-Ma
)
SAMc~aIE FORD, )
SHIRLEY FORD, )
RICKY BROWN, )
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIF`Y'ING PERIOD OF EXCLUDABLE DELAY

 

This cause came on forl a report date on. July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

£k___ day of August, 2005.

SAMUEL H. MAYS, JR.
U'NI’I‘ED STATES DISTRICT JUDGE

IT IS SO ORDERED this

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
case 2:04-CR-20330 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

